Case 2:08-cr-02095-EFS   ECF No. 228   filed 08/27/09   PageID.882 Page 1 of 6
Case 2:08-cr-02095-EFS   ECF No. 228   filed 08/27/09   PageID.883 Page 2 of 6
Case 2:08-cr-02095-EFS   ECF No. 228   filed 08/27/09   PageID.884 Page 3 of 6
Case 2:08-cr-02095-EFS   ECF No. 228   filed 08/27/09   PageID.885 Page 4 of 6
Case 2:08-cr-02095-EFS   ECF No. 228   filed 08/27/09   PageID.886 Page 5 of 6
Case 2:08-cr-02095-EFS   ECF No. 228   filed 08/27/09   PageID.887 Page 6 of 6
